             Case 2:09-cr-20026-PKH                                              Document 121            Filed 02/16/10                             Page 1 of 6 PageID #: 268
 4 h A t )2 4 5 8   ( R o v 0 6 / 0 5 1 J L d e m r ni nt r C r i m D r s l c a s q
                    S h e e tI



                                                              UrurrEn
                                                                    SrernsDrsrnrctCoutlr'
                                  WES'I'F:ITN                                                Districtol'                                                   ARKANSAS
               UNITED STATESOF'AMF;RIL]A                                                           JI.JI)GMENTIN A CITIMINAI,CASE
                                            v.
                      M I C H A E LW I I I T I T I I I , D                                         CaseNutrhcr:

                                                                                                   USM Nurnbcr:

                                                                                                   P h i l l i pJ . M i l l i s a n
                                                                                                   I l c f c n d s n st A t l o r r t e v
THE DHI'RNDANTT
X pleflded
         g[ilty to oornt(s)                          One (l) of thc Indictrnent
                                                                              on AugustI 8, 2009

n pleadednolo contendcrcto countlsl
  which wns flcccptcdby the coun,
lJ wasfoundguiltyorrcount(s)
   aftetn plcaofnot guilty,

The defendnntis adjudicatedguilty of thcscolTcnses:

'l
     itlt & Section                              Nnture of Offense                                                                                        Offense F.ndcd   C{runt

2 1 ( J . S . C$,S8 4 1 ( n X l )                Conspiracyto Disftibutc CocaineBase                                                                       03127lZ0u9        L
flrrd846



           'l'hc
           dcfcndantis sentencedas providcd in pages2 through               ofthis jLrdgnrcnt.
                                                                                            Thc scntence
                                                                                                       is imposedwirhinthc
statuloryrangenndthc tJ.S-Sentencing Ctridelincswcrc considered
                                                              $s fldvisory.

n l he defenduthnsbccnfoundnot guilty on count(s)

X Co$$t(s) _.                                  Five (5)                               X is   E are disnrissed
                                                                                                            on the motiolrofthe UnitcdStatcs.

         h is orderedthatthedefendnnt   mustnotifythe Ur)itedStntcsattorneyfor thisdistricrwithin30 davsofanv chanreofrrnrne.rcsidcncc.
ornlaiIinqrddrcssunti|a||fnes.festitUtion..costs'indspecialnssessmcnts,irnposed[rythis.iudgmeflfcf.uItypaia.-lroroEiedto
rne oeIeD0flnttnustnotlry tne coutl alld U rt('dStatcsattorneyot miltenalchalrgesrn econotniccifcumstanccs.


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                                                                                                   /S/ Robcd T- Daws')rl
                                                                                                   Signrturc ol .ludttc




                                                                                                   HoporableltobertT. Dnwson,Ilnited StatesDiskictJudE$
                                                                                                   N n r i l en n dT i l l e o l J u d s c
             Case 2:09-cr-20026-PKH                    Document 121               Filed 02/16/10           Page 2 of 6 PageID #: 269
.\rJ 145Lr     lREf. 06/051Judsm€ntin {-'rimin$lL{$c
               Shcct2 - ImFrisonmcnt

                                                                                                              JudsmEnt- Pus,: _?__                        $f   _-6__
 DEflENDAN]':                     MICHAELWII]TFIELD
 C A S hN
        ] LJMBER:                 2:09CR?0026-005


                                                                  IMPRISONMI],N'I'

                      is hcrcbycommittcdto thc custodyofthe lJnitedStatesBureauofPrisonsto be itnprisoned
         Thc rlclbndant                                                                                 for r
 total tcrm of:     Bixty-four (64) monthff




  X      lheco fl mflkes
                       thefolldwingrc$ommcndations    to theBureauofPrisons:
         The defendant participatcin thc tiurcituol'I'riso]]s500 hourcomprehensive                   prograrlor flny
                                                                                        abusetrEatrnent
                                                                                substance
         substaficcabu$clreatftent programthat may be available.



         'l'he
                 defendantis rcmandcdto thc custodvofthe United StatesI4arshal.

   n     The defendant
                    shallsuffenderto the UnitedStatcsMRrshalfor this district:

         trat                                          n    rr,m,   n   p.nr.     on

         tr       asrotifiedby theUnitedStalrisMdNhdl.
         'l                                  ofsentence
              hedefendant
                       shallsrLrrcndcr
                                   fbr service       attheinstitution       bythelJureaofPrisons:
                                                                   designflted
                  beforeI p,m,on

         tr       asnotifiedby the UnitedStatesMarshlrl.

         n        as notified hy the Probationor Preffial ServicesOffice.



                                                                        RE'TIJRN
 I hnvc cxccutcd this judgmcnt as firllows:




         Dclcndantdclivcrcd on

                                                           , with r curtificdcopyofthisjudgmcnt.



                                                                                                         I JN T I I I I J S T A I L S M A R S F I A I ,



                                                                                R.,
                                                                                      _
                                                                                                   D E F U T Y U N I T E D S T A T E SM A R S I I , { L
              Case 2:09-cr-20026-PKH                                               Document 121   Filed 02/16/10   Page 3 of 6 PageID #: 270
AO 145ts         ( R c \ . u 6 / d 5 )J L d e r n E ni rtrn C l ; n r , n nC
                                                                           l nsc

                                                                                                                     JudBrncnl-lh8c            6

DEFENDAN'I: Ml(:HAEl.WHITFI[LtJ
CASENUMBER: ?:09CR?00?(r-005
                           STIPERVISED RF]I,EATiE

           frotr irnprisonnrent,
UFo releflse                             shallbc on supervised
                             the def-cndant                  release
                                                                   for a lerrnof:                                  three (3) yenrs




         'l                rnustreportk) thc probationdffiue in thedisftictto whichthe defendant    is relcasedwithin 72 hoursof releasefronrthc
            he defendant
 custodyof thc BureauofPtisols,
 'l'he
       defe dant shall not conrmitanothcrfcdcral, stfltcor loofllcrirne.
 Thc dct'cnddnl      shallr)otulllswfullvt)ossess   a controlledsubstancc.                shallrefrainftonr anyunlawfulrLse
                                                                             Thc dcfcnclant                                 ofa controllcd
 iri'trjt-airii.-ftiJ iilaiiiiiii'ihatl sulnrii io onc drug tesrvvilhirll5 dnysofreleasefrorn imprisonnrcntaud at lcusttwo periodicdrtrgtests
 therealler,asdctcrmincdby the coutt,
         Thc nbovcdrugtestir)gconditio is suspended,          basedon the cout's dctcrmination  thatthedefendant pr,rses
                                                                                                                       a low rirk of
 a
          futuresubstalce      Bbuse.(Check,if applicahle.)
         'l'he                                                                   dcvicd,of r y dtherdnnsetous  weapon.(Chcck,ifrrpplicable)
 X             defendnnt    shallnot possess  a fireanl, anrnrunition,dc:ttructivc

 f,          The defcndant
                         shallcooporlltc                                               ofliccr. (Chock,ifappticable.)
                                       in thecollectionofDNA flsdilectedby th€ probatiorr

 tr          Thc dctcndantshall rcgisterwith the stfltesex offender fegistrationagencyin thc statcwhdrd the defendantresides,works, or is n
             stlLdcnt,as diF$otcdby thc probfltidt)officet. ((lheck, ifapplicable.)
             'fhe
 tl               defendant shallpadicipatcin an approvcdprogrntnfor dolnesticviolence (Check,if applicablc.)
                                                                                                      pay in accordancc
                                                  it is a conditionofsupcrviscdrtlcHseth$tthe defendant
      Il this iudgmehtimposesa fine or restitution,                                                                   with the
 Schedule  ofPalnrentsslicctof thisjudgmcnt.
      'l'he
                    rnustconrplywith thc standanlconditionsthnthnvebeenadoptedLrythis courtLrswcll fls with anyadditionalcorrditions
           defendarrt
 on the attachedpage,

                                                                IiT'ANDARI) CONDITIONS OF SI.JPERVISION
       I)     the defendantshall not leavethe judicial district without the perfi)ission of the coud or probationolficcr;
       2)'                shallrcportto thc plobntioool'ficcrrnd shflllsublnita truthfulandconrplctcwrittcnrep,.rrt
              the defendant                                                                                              withinthe lirst livc daysol
              eachmonth;
       3)     the defendants)rallanswcrtruthlirlly flll i q iries by the probationofticer and lirllow thc inskudtionsofthe plobationolliccr;
       4)     thedef€ndant                             nndnleetotherfanrilyresponsibiliticri;
                        Fhallsupporthis or hcr dependents
       5)                                                                                                               training,or othcr
              the defelldantshallwork regularlyat a lawful odoupltion,unlessexcusedby the probationoliccr f,:t schooling,
              acceptahlereason$,
       6)                 shnllnotiI the pfobationofficerat leastten daysprior to any changein residence
              thc dctcndnnt                                                                            ot enrploynrcnt;
       7l'    thc deferrdflnt                       useofalcoholnndshallnot purchflse.
                           shallrrfrainfrom excessive                                  Dossess, use,distributc,or ndmilristet
                                                                                                                            flny
                        suhstarrce
              cr.rnr|olled        or any paraphcrnalia                                exceptils prcscribcd
                                                    rclatedto any controlledsultistances,                 by fl physician:

       8)     lhe defendant shallnot licqucntplaceswhereconlrolledsubstances       areillegallysold,u$cd,disfibuted.or adlllilristered;
       9)     the defendant shallnota.ssociatc with dny pcrso s efigflged  in_crinrinal                           with any Personconvictcdol a
                                                                                      activityandshnllnot assdci0te
              felony, unlessgrantcdpcrmissidntd do s(l by the probilTlonotliceri
      l0)'    thedefendarrt                                                                                                              r:f nny
                            shallpc'rmita probntionofTicerto visit llilrlor herat anytime at homcor clstwherettndshallpernritcorrliscttiun
              contrabandohseweiJin plairi vicw oftlie probarionoffrcer;
      ll)                   shallnotily thc probrrtidnofficer within seventy-twohoursofbcing ancstcddt questionedby a law cnlirracmcrtd{TicEri
              the r'lefendarrt
      l2)      the d€fendantshall not eltcr iDto any agrcr:n]rnltd rdt {rs$ iflfort}reror a specialagcnt ol o lrtw enforcentet]tagencywithout thc
               nennissioDol thc c0urli dnd
      I 1t     ncdirectedhv thc onrbarionolTiccr,the defendnntshallnotifo th ird Daftiesof risksthat nlay bc ocdlsior)edby rhe detendant'sc'rimirral
               ri.cgrd6r oeisonalhistory or characteristicsand shall penirit thc probationolTicerto nlake such notification$and to co lillll the
               defendnnt'scontDliancewith suchnotificationrcquircmlnt.
          Case 2:09-cr-20026-PKH                        Document 121         Filed 02/16/10            Page 4 of 6 PageID #: 271
Ao 245R     (R+v ori/ui) Judgmcntin a Crnninsl L:'Isc
            slrcct JC - Sup€rvisedRelease


I)I-]F'ENDANT:              MICIIAELWHIl'I.IELD
C A S EN U M B E R :        ?:09tlR?00?6-005

                                          SPECIAL CONDITION$OF SUPERVISION

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          p;.drir;biii;;    gia ieasorratrtEiinii irrd in i ieiionablc marinci btscd upon rcasonublc suspicion ol evidence of violation of an)
                         'liailure rclearse,The alel'er)dAnI
          condition ol supcrviscd                            ShAllwArn [ny Other residerltsthat their prcnliiicii mdy bc subJccl lO SetlrcnFUfsllanlm
          this cr,rndition,       to subrnitto a scarchurirybc groundsjijr rcvocfltio ,

     ?, In fldditionto rhe rnandatoryd|ug testirrgrcquircmcnts,thc dcii'ndantshLLlLc,:mply $itl] r:tqyret'etal deernedappropliatcby thc ll,S
        I'robation                                    c\ lutrtron.
                   Ot'ficcrfor in-pdticntor out-pLrticnt                            rlEOfrestr
                                                                 lretrtfitel. COuIlSelr        nBlol sullstancc  anllsc.
        Case 2:09-cr-20026-PKH                           Document 121                      Filed 02/16/10           Page 5 of 6 PageID #: 272
                      ludg wnt irrB(:rrminalCnse
At) 2451J lRev 0t)/()5)
             5hse15-    (:riminsl Mor)etaryP,inaltics
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                                                                                                                    udEmcnt                   _-______a-
DEFENDAN'I.i                          M I C H A E L W H I ' II - ' I F , I , D
CIAStiNIJMBER:                        ?:09CR20026-005
                                                   CRJMINAL MONETARY PNNAL'IIES
      'lhe                                                                    ()1'pirylnents
                                                                                          on Shcet6
                    rllustpaythc tot{l driminalmoDct{r}penalties
             defendant                                         undcrtheschedulc


                         Assessm€nl                                                I'irc                                 Rcstitqliqq
 TOTALS                $ 100.00                                                  $ I,500.00                            $ -0-



 n    lhe detennin{tion ofrestitutionis rleferreduntil                            An ,4mcndtdJudgrnnl in d L:ri'lai l ("r'i.!c(A(l 245C) will be entcrco
      after suchdetenljratior-

 n    The defendant                                                  to the followingpnyeesin the arnounllistedbelow.
                 mustn)flkerestitution(includingcomrnunityrestitution)

                                                                                                                            otherwisein
      Il'lhe defendanrnrflkesfl parrialpflymcnl.eachpayecshallreceivean approxirufltelyproportir:nedpaymcnt,unlesss1:tecificd
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      *ijit*'lr""JfliiH;i*iin-iae!.'pa]'n"nt
                                                                                             Rsltitu liort 0rd€Ed                             PFrcE44s!
 IgE oI rflss                                       Total Loss*                                                                   lldpdtlor




 TOTALS


 tr              amountotderedpursudntlo pleaagrcEmcnt$
       Restitution

  !    The rJefendantmust pny intereston rcstitutionand a lin$ of tnorethan $2,.500,unlesstho rcstit tion or finc is paid in t'ull bcforethe
               daysllerthedatcofthe.iudgmeDt,
       fiffFeDth                                  pursuantto 18I.J-S.C. $ l6t2(tJ. All of the pr:lylllent
                                                                                                       optic]ns on Shect(] mdy be suhjcct
                  for delinq[cncyanddefault,pursunntto I 8 I J.S.C.$ ]61?(g).
       to pcnalties

        fhe court dclffmined that thc dcfErldantdoesnot h|rvethe ability k] pHyinterestand it is ordeledthat:

       X      the intcrestrequirerrentis waived lbr thc               X       fine   f.l   rcstitution'

        n     thc it)terestrequircmentforthe             I     fine       !      rcstitutionis nrodificdr:tsfollows:



                                                                                                                              dfl or after
  t ljindirEsli)r thetotalalrountoflossesarerequircdunderChapters109A,I 10,I l0A, and I l3 A ofTitle l8 f'oroltcnscscolnnrittcd
  s('ptenlbtr)3, 1994,but betbleApril 23, 1996,
          Case 2:09-cr-20026-PKH
                           (lrintinnl
                                                    Document 121                 Filed 02/16/10     Page 6 of 6 PageID #: 273
AO 2458     (R€v.tl6i05)
                       JudFmant
                             in f,           Cn$e
            ShrEt6 -- SchcdulcofPsvmcnli

                                                                                                       J dErn{nt- PnEe   6    ul        6
II[,FINIJAN'I';             MICHAEL WI IITI,'IIiI.-I)
CASI] N[]M1]I-.]R;          ?:09CR20026-005

                                                     SCTIEDT]LE
                                                              OF PAYMENTS

Havingassessed          abilityto pay,paynrentofthe totalcriminalnronetary
            thedefendant's                                               penalties
                                                                                 me dur ns lbllows:

A    ){     Lunrpsumpaynrentof$                                dueirnnrediltely,
                                                                              balnnccdue

            n     not latcr tharr                                  ,or
            f,    in uccordrn0c         tr   (1, E      D,     n       E, or     fi F bel6w;61
B     N Pflynrent                (rnnybecorflbincd
               tu bcgininrrncdiately            with                           n (r,    n D. or   ! F bclow);or
C     N Paynrentin equal                      (e.9.,weckly,nrorthly,quarterly)instrrllnrcnts
                                                                                          r:f $               over fl periodrrl
                          (e.9.,monthsor yerrr!),lo conrnrence.,-        (e.9.,30or60 days)afterthe dnteofthisjudgmcnt;or

     n     Paynrenti|l equfll                (e.9.,wcckly,nonthly,quanerly)installmcnLsrrf $                 ovel a perit'duf
                        (e,9,, o|lthsor years),to comnrence_          (c.9,,30 or 60 days)afterreleasefronrimprisonmcnt  to a
           remror suDelvtslon:or

     !      Payment duringthetennr-rfsupcrvised  releasewill cor rnenccwithin         _           (e,g,,30 r:r 60 dnys)aflcrrcleasefrorn
            imprisotrment.lhecourt will ict the paynEnt Fltul hRst,lon u,, u""""*nrl,t of lherlef,endant'srbility to pay ai that tirne;ol

     X      Spccialirstructioltsregurdingthc paymentof crinrinalmonetnrypcnirltics:

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            ilcl'cndant's
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llttprisonmtnt.                                  cxclpt thosepayrnents
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ReiponsibilityPrografir,arc madcto the'clerkofthe colrt.

The defendant
           sh0llreteivccrcditfirr all paynlents
                                              pfeviorslyruadctowardanycrilninalntonetarypennlticsimposcd.




LJ   JointandSevenl

              nndtlo-DcflndantNanresandflaseNutnbcrs(inoludingdcfbndant       'lotfll
     Defendnnt                                                        nunrbet),       An)ourll,JointflndScvcrHlAmount,
     und concspondingpayee,if appropriate.




tr The defendantshallprrythecdstofFro$ecution.
n TIe defendantshallp$ythe followingcourtcost(s):
!    The defendantshctl forfeit (h$dclcndant'sinterestin the f('llowing proprrty to thc lJnitcd States:




Pflyrllcntsshallbc appliedin the followineorder:il ) as:icssrrrent,
                                                                {?) restitution         r-1}rcsritutionintcrcst.[4) tine nrinciual.
                                                                              DrillriDrrl.
(5) finc intcrcst,(6) conrnlunity          (7) pcrialtics,
                                restitrtior-I,          and(8) cbits,includingcosrbl'iioiccution andcoun coits.
